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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    ALEXANDRA P. NEGIN, #250376
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700/Facsimile: (916) 498-5710
5    Lexi_negin@fd.org
6    Attorney for Defendant
     HAMMURABI HERNANDEZ
7
8                     IN THE UNITED STATES DISTRICT COURT
9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                  Case No. 15-cr-018 TLN
                                            )
11               Plaintiff,                 )   STIPULATION AND ORDER TO
                                            )   VACATE BRIEFING SCHEDULE &
12          v.                              )   SET STATUS CONFERENCE
                                            )
13   HAMMURABI HERNANDEZ and                )   Date: November 5, 2015
     JORGE MEDINA,                          )   Time: 9:30 a.m.
14                                          )   Judge: Troy L. Nunley
                 Defendants.                )
15                                          )
16
            IT IS HEREBY STIPULATED by and between Benjamin Wagner, U.S.
17
     Attorney, through Paul Hemesath, Assistant United States Attorney, attorney for
18
     Plaintiff, and Heather Williams, Federal Defender, through Assistant Federal
19
     Defender, Alexandra P. Negin, attorney for Hammurabi Hernandez, and defendant,
20
     Jorge Medina, by and through his counsel Gilbert Roque hereby stipulate and agree
21
     to vacate the current status conference set for November 5, 2015 at 9:30 a.m. and
22
     set a Change of Plea hearing for both defendants on November 19, 2015 at 9:30
23
     a.m.
24
            Speedy trial time has previously been excluded until November 19, 2015
25
     under 18 U.S.C. § 3161 (h)(7)(B) (iv) (Local Code T4).
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27
28

     S[[
      STIPULATION [PROPOSED] ORDER TO SET       -1-
      CHANGE OF PLEA HEARING
       Case 2:15-cr-00018-TLN Document 48 Filed 10/28/15 Page 2 of 3


1                                           Respectfully submitted,
2    DATED: October 28, 2015                HEATHER E. WILLIAMS
3                                           Federal Defender

4                                           /s/ Alexandra P. Negin
5                                           ALEXANDRA P. NEGIN
                                            Assistant Federal Defender
6
7                                           Attorney for Defendant
                                            HAMMURABI HERNANDEZ
8
9    DATED: October 28, 2015                /s/ Gilbert Roque
                                            GILBERT ROQUE
10
11                                          Attorney for Defendant
                                            JORGE MEDINA
12
13   DATED: October 28, 2015                BENJAMIN B. WAGNER
                                            United States Attorney
14
15                                          /s/ Paul Hemesath
                                            PAUL HEMESATH
16
                                            Assistant U.S. Attorney
17                                          Attorney for Plaintiff
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      STIPULATION [PROPOSED] ORDER TO SET    -2-
      CHANGE OF PLEA HEARING
       Case 2:15-cr-00018-TLN Document 48 Filed 10/28/15 Page 3 of 3


1                                          ORDER
2
           The Court, having received, read, and considered the stipulation of the
3
     parties, and good cause appearing, adopts the stipulation in its entirety as its order.
4
     The Court specifically finds that the failure to grant a continuance in this case
5
     would deny defense counsel reasonable time necessary for effective preparation,
6
     taking into account the exercise of due diligence. The Court finds that the ends of
7
     justice served by granting the continuance outweigh the best interests of the public
8
     and defendant in a speedy trial.
9
           The Court orders the change of plea hearing set for November 19, 2015, at
10
     9:30 a.m. The Court orders the time from the date of the parties stipulation, up to
11
     and including November 19, 2015, excluded from computation of time within
12
     which the trial of this case must commence under the Speedy Trial Act, pursuant to
13
     18 U.S.C. §§3161(h)(7), and Local Code T4.
14
     DATED: October 28, 2015
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                                                     Troy L. Nunley
19                                                   United States District Judge

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      STIPULATION [PROPOSED] ORDER TO SET      -3-
      CHANGE OF PLEA HEARING
